Case 2:20-cv-00406-SSS-JC Document 117 Filed 08/31/23 Page 1 of 19 Page ID #:1812


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  15                                  UNITED STATES DISTRICT COURT
  16                               CENTRAL DISTRICT OF CALIFORNIA
  17 FRANCESCA GREGORINI,                           Case No. 2:20-cv-00406-SSS-JC
                                                    Hon. Sunshine S. Sykes
  18                      Plaintiff,
                                                    Referred to: Hon. Jacqueline Chooljian,
  19            v.                                  United States Magistrate Judge
  20 APPLE INC., a California corporation;              —DISCOVERY MATTER—
     M. NIGHT SHYAMALAN, an
  21 individual, BLINDING EDGE                      JOINT STIPULATION
     PICTURES, INC., a Pennsylvania                 REGARDING DEFENDANTS’
  22 corporation; UNCLE GEORGE                      MOTION TO COMPEL
     PRODUCTIONS; a Pennsylvania                    PLAINTIFF’S FURTHER
  23 corporation; ESCAPE ARTISTS LLC,               PRODUCTION OF DOCUMENTS
     a California limited liability company;
  24 DOLPHIN BLACK PRODUCTIONS,                     Discovery cutoff: November 17, 2023
     a California corporation; TONY                 Pretrial conference: May 24, 2024
  25 BASGALLOP, an individual; ASHWIN               Trial:               June 10, 2024
     RAJAN, an individual; JASON
  26 BLUMENTHAL, an individual; TODD                Hearing Date:       September 26, 2023
     BLACK, an individual; STEVE TISCH,             Time:               9:30am
  27 an individual; and DOES 1-10,                  Courtroom:          750
     inclusive
  28                                                Complaint Filed: January 15, 2020
                   Defendants.

       JOINT STIPULATION RE: DEFENDANTS’ MOTION TO COMPEL
       4856-2227-8005v.2 0113237-000003
Case 2:20-cv-00406-SSS-JC Document 117 Filed 08/31/23 Page 2 of 19 Page ID #:1813


   1                                          TABLE OF CONTENTS
   2
   3 I.         INTRODUCTORY STATEMENTS .............................................................. 2
   4            A.        Defendants’ Introductory Statement .................................................... 2
   5            B.        Plaintiff’s Introductory Statement ........................................................ 3
   6 II.        JOINT SPECIFICATION OF ISSUE IN DISPUTE...................................... 5
   7            A.        Defendants’ Position and Authorities................................................... 5
   8            B.        Plaintiff’s Position and Authorities ...................................................... 9
   9            C.        Defendants’ Requested Resolution .................................................... 11
  10            D.        Plaintiff’s Requested Resolution ........................................................ 12
  11 III.       CASE SCHEDULE ...................................................................................... 12
  12
  13
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Case 2:20-cv-00406-SSS-JC Document 117 Filed 08/31/23 Page 3 of 19 Page ID #:1814


   1            Defendants Uncle George Productions, LLC (“Uncle George”) and Blinding
   2 Edge Pictures, Inc. (“Blinding Edge”) (together, “Defendants”), together with
   3 Plaintiff Francesca Gregorini (“Plaintiff”), submit the following Joint Stipulation
   4 pursuant to Local Rule 37 for Defendants’ Motion to Compel Plaintiff’s Further
   5 Production of Documents.
   6                                I.    INTRODUCTORY STATEMENTS
   7            A.        Defendants’ Introductory Statement
   8            Defendants served discovery requests on Plaintiff nearly a year ago. Through
   9 months of negotiations, the parties have resolved their disagreements over the scope
  10 of Defendants’ requests; the only remaining issue is when Plaintiff will produce her
  11 documents. Despite receiving numerous extensions and promising to produce in
  12 May, then June, then July, to date Plaintiff has made only two small document
  13 productions—and even those productions contain improperly produced, incomplete
  14 documents Plaintiff has yet to correct. With the bulk of her production outstanding,
  15 Plaintiff refused to provide any schedule for completion until the parties met and
  16 conferred over this motion in mid-August.1
  17            Plaintiff now proposes to complete her production by September 18, but
  18 given her prior repeated failures to meet her own deadlines and the parties’
  19 impending November fact discovery cut off, there is not enough time for
  20 Defendants to wait and see if Plaintiff follows through with her latest proposed
  21 timeline. If Plaintiff completes her document production—including reproducing
  22 the incomplete documents she already improperly produced—by September 18 as
  23
  24            1
             Plaintiff’s counsel David Erikson has been hospitalized portions of this year
  25 due to a battle with cancer. In light of his health and a death in the family of
     another of Plaintiff’s attorneys, Defendants granted several extensions for Plaintiff’s
  26 written discovery responses, ultimately giving Plaintiff six months to prepare and
     serve her written responses. Declaration of Cydney Swofford Freeman (“Freeman
  27 Decl.”) ¶ 4. In June, Defendants further agreed to a four-month continuance of all
     upcoming scheduling deadlines due to Mr. Erikson’s health, ECF Nos. 113-114, but
  28 with the close of fact discovery fast approaching, Defendants must move forward
     with discovery in this case.
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Case 2:20-cv-00406-SSS-JC Document 117 Filed 08/31/23 Page 4 of 19 Page ID #:1815


   1 promised, Defendants will withdraw this motion prior to the September 26 hearing.
   2 If not, Defendants ask the Court to compel Plaintiff to immediately complete her
   3 document production.2
   4            B.        Plaintiff’s Introductory Statement
   5            Defendants bring this motion prospectively in the event Plaintiff fails to meet
   6 a future deadline to provide a supplemental document production agreed to this
   7 month. Plaintiff has spent hundreds of hours responding to Defendants’ discovery
   8 and dozens of attorney hours meeting and conferring with Defendants and
   9 addressing their demands for every piece of paper and every scrap of information
  10 ever generated regarding Ms. Gregorini, her work, her life, or her movie, The Truth
  11 About Emanuel. Plaintiff has already produced thousands of pages of documents,
  12 including document productions on July 7 and July 28. On August 18, during a
  13 lengthy meet and confer session, Plaintiff made even more concessions and agreed
  14 to produce additional documents. Of course, it will take some time for Ms.
  15 Gregorini to gather the materials and for counsel to review the documents and
  16 prepare them for production. Plaintiff proposed to have the supplemental production
  17 done within a month of the meeting.3
  18            Ms. Gregorini acted in good faith and reached the agreements she made with
  19 Defendants in an effort to avoid motion practice, to avoid waste of judicial
  20 resources, and to avoid incurring even more unnecessary legal fees. And yet,
  21 Defendants brought this motion anyway. Defendants concede that Plaintiff has met
  22 their demands insofar as the scope of documents Plaintiff will produce. Defendants’
  23 sole basis for this motion is as a “back up” to obtain an order compelling production
  24 in the event Defendants deem Plaintiff’s future production somehow inadequate.
  25
                2
  26         This joint stipulation was provided to Plaintiff’s counsel on August 23,
     2023. 3All statements made by Defendants are as of that date.
  27         Plaintiff sets out the background and timing of her document productions in
     the accompanying declaration of counsel. Plaintiff’s document production to date
  28 includes documents bates numbered FG0001-FG4031. Declaration of Antoinette
     Waller (“Waller Decl.”) ¶ 9.
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Case 2:20-cv-00406-SSS-JC Document 117 Filed 08/31/23 Page 5 of 19 Page ID #:1816


   1 There is no legal support to bring a motion on the grounds that a document
   2 production that will occur in the future might not occur and if it does not, then the
   3 moving party hopes the court will order that an undefined production should occur.
   4            During the parties’ August 18 meet and confer session, Ms. Gregorini’s
   5 counsel generously agreed to produce initial disclosure documents even though
   6 Defendants have never served document requests or discovery seeking those
   7 documents. Waller Decl. ¶ 10. Under Federal Rule of Civil Procedure Rule 34, any
   8 such request would require a minimum of thirty days before a response would be
   9 due. Defendants now pretend in this motion that Plaintiff has somehow delayed
  10 producing her initial disclosure documents. But there is no discovery request
  11 seeking those documents and no basis whatever to compel the documents’
  12 production. Nevertheless, Plaintiff will have produced the initial disclosure
  13 documents before the hearing on this motion.
  14            Plaintiff has fully cooperated throughout the discovery process. Ms.
  15 Gregorini has responded to hundreds of discovery requests from Defendants
  16 including eleven sets of interrogatories and hundreds of individual document
  17 demands. Waller Decl., ¶ 11. Plaintiff’s responses have all been timely. While
  18 Plaintiff obtained certain extensions for her initial responses, she served her
  19 responses without delay and within the time granted. Id.
  20            In contrast, Defendants have delayed and obfuscated discovery since the
  21 case’s inception. Plaintiff served initials sets of document requests, including
  22 requests seeking Defendants’ initial disclosure documents during the early stages of
  23 the lawsuit in March and April 2020. Three years later, in May 2023, Defendants
  24 had not produced a single document and refused to produce their initial disclosure
  25 documents. Plaintiff was forced to file a motion to compel before Defendants
  26 produced any documents. Id. ¶¶ 12, 13.
  27            Defendants bring this motion not for a legitimate purpose, but to harass
  28 Plaintiff, and impede and delay her trial preparation efforts, all while exponentially
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Case 2:20-cv-00406-SSS-JC Document 117 Filed 08/31/23 Page 6 of 19 Page ID #:1817


   1 increasing Plaintiff’s legal fees. There is no pending dispute for the Court to
   2 determine; the motion should be denied.
   3                    II.      JOINT SPECIFICATION OF ISSUE IN DISPUTE
   4            A.        Defendants’ Position and Authorities
   5            The parties have reached agreement on the substance of Defendants’ requests
   6 for production to Plaintiff; at this point, they only disagree on the timing of any
   7 required productions. To date, Plaintiff has produced 145 documents in two small
   8 productions, along with promises to fix errors made in those productions and to
   9 provide many additional documents. This motion is made nearly a year after
  10 Plaintiff received Defendants’ requests and after months of Plaintiff’s counsel’s
  11 broken promises to provide timely productions:
  12        On September 22, 2022, Uncle George served its first set of requests for
  13            production of documents on Plaintiff. Freeman Decl. ¶ 3 & Ex. 2.
  14            Defendants granted numerous extensions to Plaintiff’s deadline to provide
  15            written responses, and Plaintiff served her response to the requests for
  16            production on March 13, 2023. Id. ¶ 4 & Ex. 3.
  17        On May 17, 2023, Plaintiff’s counsel stated during a meet and confer that the
  18            first of Plaintiff’s productions would be served by May 31. No document
  19            production was made by that date. Id. ¶ 5 & Ex. 4.
  20        On June 21, 2023, during the parties’ meet and confer regarding other
  21            discovery disputes not at issue in this Motion, Plaintiff’s counsel stated that
  22            she was “trying” for an initial document production the following week. Id.
  23            ¶ 6. A week later, during the parties’ June 27 meet and confer, Plaintiff’s
  24            counsel stated that they were “trying” but “not promising” to produce
  25            documents that week, and that Plaintiff definitely would produce by the “next
  26            week.” Id. ¶ 7. On June 30, Defendants’ counsel emailed Plaintiff’s counsel,
  27            reminding her of the parties’ meet and confer discussions and asking if
  28            Plaintiff would make her production that week. Id. ¶ 8 & Ex. 5. In her
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Case 2:20-cv-00406-SSS-JC Document 117 Filed 08/31/23 Page 7 of 19 Page ID #:1818


   1            response, Plaintiff’s counsel promised to produce documents by the following
   2            week. Id.
   3        On July 7, 2023, Plaintiff made her first production, which contained only 57
   4            documents. Id. ¶ 9. That day, Plaintiff’s counsel stated, “This is part of a
   5            rolling production. Subsequent phases will be produced next week.” Id. ¶ 9
   6            & Ex. 6. No document productions were made the following week. Id. ¶ 9.
   7        On July 21, Defendants’ counsel emailed Plaintiff’s counsel to again request
   8            that Plaintiff produce the promised documents. Id. ¶ 10 & Ex. 6. That same
   9            day, Defendants’ counsel also raised that Plaintiff’s sole production contained
  10            several inappropriately truncated email chains and asked that they be re-
  11            produced by July 28, 2023. Id. ¶ 11.
  12        On July 25, 2023, having received no response, Defendants’ counsel asked
  13            Plaintiff’s counsel to “please provide a schedule for Plaintiff’s remaining
  14            document productions in response to Uncle George’s first set of RFPs by
  15            Friday 7/28.” Id. ¶ 12 & Ex. 7. The email stated that if Plaintiff’s counsel
  16            “[did] not provide a schedule that accounts for substantive completion in the
  17            next two weeks, Defendants will be forced to resume the process of a motion
  18            to compel next week.” Id.
  19        On July 28, 2023, Plaintiff served her second document production of 88
  20            documents. Id. ¶ 13. In the production’s accompanying cover email,
  21            Plaintiff’s counsel also stated that “[w]e anticipate at least one more phase in
  22            this production and that those documents will be produced next week [by
  23            August 4].” Id. ¶ 13 & Ex. 8. Plaintiff’s counsel also stated, “We are
  24            following up on the email chains you cite as incomplete in your July 21 email
  25            and will get back to you shortly as to those emails. We will ensure that all
  26            responsive email chains are produced in full.” Id. ¶ 13 & Ex. 8.
  27        On August 3, 2023, still not having received additional document productions
  28            or anticipated production schedule, as promised, nor any re-productions of
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Case 2:20-cv-00406-SSS-JC Document 117 Filed 08/31/23 Page 8 of 19 Page ID #:1819


   1            the deficient documents from Plaintiff’s July 7 production, as promised,
   2            Defendants’ counsel asked Plaintiff’s counsel to confirm that Plaintiff’s
   3            document production would be substantially complete by Friday, August 4
   4            given prior representations, or else Defendants would move forward with a
   5            motion to compel. Id. ¶ 14 & Ex. 7. Plaintiff’s counsel replied on August 4,
   6            only to state that she had been “out of pocket for the past two days and [was]
   7            working on other deadlines” that afternoon; while she stated that counsel was
   8            “working diligently with our client on the discovery matters and will continue
   9            to do so,” she provided no updated production timeline. Id. ¶ 14 & Ex. 7.
  10        On August 8, 2023, pursuant to Local Rule 37-1, Defendants’ counsel sent
  11            Plaintiff’s counsel a meet and confer letter identifying concerns with
  12            Plaintiff’s failure to produce documents and re-produce deficient documents,
  13            and requesting a conference with counsel. Id. ¶ 15 & Ex. 9.4
  14        On August 18, 2023, Defendants’ counsel and Plaintiff’s counsel participated
  15            in a Local Rule 37-1 prefiling conference. Id. ¶ 16. During that conference,
  16            Plaintiff’s counsel stated Plaintiff now needed a full additional month, to
  17            September 18, 2023, to substantially complete her productions, including re-
  18            producing the deficient documents. Id. ¶ 16.5
  19        As of August 23, 2023, Plaintiff has not made any additional document
  20            productions. Id. ¶ 17.
  21            Plaintiff’s failure to timely produce the requested documents—or even her
  22 own initial disclosure documents—prejudices Defendants’ ability to defend against
  23 Plaintiff’s suit. See, e.g., MySpace v. Wallace, 2008 WL 1766714, at *4 (C.D. Cal.
  24 Apr. 15, 2008) (failure to produce documents “prejudices” another party’s ability to
  25
                4
  26          The letter also addressed certain issues with Plaintiff’s discovery responses
     that since
            5
                have been resolved. Freeman Decl. ¶ 15.
  27          Plaintiff’s counsel further represented that her production would include any
     documents identified in her initial disclosures, and Defendants agreed not to serve
  28 requests for production specific to Plaintiff’s initial disclosures based on that
     representation. Freeman Decl. ¶ 16.
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Case 2:20-cv-00406-SSS-JC Document 117 Filed 08/31/23 Page 9 of 19 Page ID #:1820


   1 diligently participate in litigation); see also Alonzo v. City of Los Angeles, 2015 WL
   2 13919184, at *2 (C.D. Cal. July 24, 2015) (finding sufficient prejudice to defendant
   3 where plaintiff “failed to produce documents . . . necessary for [d]efendant to
   4 adequately litigate this case”). With the close of fact discovery looming,
   5 Defendants need Plaintiff’s documents in order to depose Plaintiff; to identify
   6 relevant third-party witnesses with knowledge of Plaintiff’s claims; and to fully
   7 investigate their defenses. For example, Plaintiff claims Defendants accessed her
   8 film through her submission to direct episodes of the television series Berlin
   9 Station—a fact key to a central element of Plaintiff’s copyright infringement case—
  10 but to date, Plaintiff has produced no documents evidencing who might have
  11 received this submission or what this submission contained. And Plaintiff’s film
  12 includes a co-story credit for Sarah Thorp, but, to date, Plaintiff has not produced
  13 any communications with Ms. Thorp. The parties agree that Defendants’ requests
  14 seek these (and many other) documents and that Plaintiff will produce them, where
  15 they exist. They disagree only on when that production must happen.
  16            Plaintiff’s minimal productions are especially surprising in light of her
  17 repeated argument in this litigation that a party must have initial disclosure
  18 documents in hand at the time of those disclosures. See ECF Nos. 105 & 108. But
  19 Plaintiff still has not produced several categories of documents that she represented
  20 more than three years ago were in her possession, custody, or control, including, for
  21 example, “materials establishing and supporting Defendants’ infringing activity
  22 including documents and communications concerning Servant”; “Defendants’
  23 interviews and media related to Servant”; “materials establishing and supporting
  24 Defendants’ knowledge and information regarding Plaintiff’s work”; and
  25 “correspondence to or from Defendants regarding the subject matter of this case.”
  26 Freeman Decl. ¶ 2 & Ex. 1. And she has produced only minimal information
  27 related to her initial disclosure category of “materials establishing and supporting
  28
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Case 2:20-cv-00406-SSS-JC Document 117 Filed 08/31/23 Page 10 of 19 Page ID #:1821


   1 Plaintiff’s intellectual property and copyright at issue in this litigation, including the
   2 creation, development and distribution of Emanuel.” Id. Ex. 1.
   3            Despite nearly a year’s notice of Defendants’ requests for production and
   4 despite rigorously pursuing offensive discovery against Defendants, as of August
   5 23, 2023, Plaintiff has produced only 145 documents in this case. Defendants hope
   6 Plaintiff keeps her latest production deadline of September 18 and will withdraw
   7 this motion if so. But if not, Defendants ask the Court to order Plaintiff to
   8 immediately complete her document productions in response to Defendants’
   9 requests so that Defendants may investigate and defend against Plaintiff’s claims.
  10            B.        Plaintiff’s Position and Authorities
  11            Defendants’ recitation of the parties’ discovery history is misleading and
  12 lacking. Most importantly, Defendants are the base cause of any delay in discovery.
  13 For example, Defendants delayed for over two and one-half years before pursuing
  14 any discovery. Defendants waited over seven weeks after Plaintiff served her
  15 discovery responses before Defendants raised any issue with the responses. Waller
  16 Decl., ¶¶ 11, 18. Plaintiff responded immediately and cooperatively as soon as
  17 Defendants raised discovery concerns. Id. ¶¶ 11, 12.
  18            Despite supremely challenging health issues facing her counsel, all Plaintiff’s
  19 discovery responses have been timely. Over the recent past, Plaintiff’s lead counsel,
  20 David Erikson, has been battling colon cancer. He has undergone surgery to remove
  21 his colon, suffered through chemotherapy and radiation treatment, and had a
  22 recurrence of cancer. Mr. Erikson was hospitalized throughout May and June of this
  23 year. Waller Decl., ¶¶ 16, 21, 25. He had his gallbladder removed in June. Id.
  24 Although he is now home from the hospital, Mr. Erikson continues to endure
  25 debilitating effects from cancer, related and unrelated illness, and hospitalizations.
  26
  27
  28
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Case 2:20-cv-00406-SSS-JC Document 117 Filed 08/31/23 Page 11 of 19 Page ID #:1822


   1 Id. ¶¶ 16, 21. Mr. Erikson’s health condition has negatively impacted Plaintiff’s
   2 ability to complete her document production over the summer.6
   3            Since serving her discovery responses in March, Plaintiff has made two
   4 document productions, on July 7 and July 28, producing over 4,000 pages of
   5 documents, native files, and film materials. Id. ¶ 9. Plaintiff’s counsel’s meet and
   6 confer discussions with Defendants culminated in an August 18 meeting during
   7 which the parties reached agreements to produce further documents.7 Plaintiff is
   8 undertaking a supplemental production of documents which Plaintiff anticipates
   9 will be completed by September 25.8
  10            “Generally, the purpose of discovery is to remove surprise from trial
  11 preparation so the parties can obtain evidence necessary to evaluate and resolve
  12 their dispute.” Duran v. Cisco Sys., Inc., 258 F.R.D. 375, 378 (C.D. Cal. 2009)
  13 (citations omitted). While discovery is broad, it is not without limit. Rowland v.
  14 Paris Las Vegas, No. 13CV2630-GPC DHB, 2015 WL 4742502, at *1 (S.D. Cal.
  15 Aug. 11, 2015) (finding “relevancy is not without ‘ultimate and necessary
  16 boundaries” (citation omitted).)
  17            As the Rowland court determined:
  18
  19            6
              In June 2023, the parties stipulated to extend trial and pretrial deadlines.
  20 Dkt. No. 113. The Court granted the parties’ stipulation. The discovery cutoff in
     this matter
            7
                  is not until November 17, 2023. Dkt. No. 114.
  21          In addition to Plaintiff’s agreement to supplement certain discovery
     responses, during that same August 18 meet and confer session, Defendants agreed
  22 to supplement their responses to Plaintiff’s document requests and to produce
     multiple categories of documents Defendants had previously objected to producing.
  23 Waller Decl., ¶ 8. Those categories include Defendants’ profits, costs, and revenue
     documents which Defendants had previously refused to produce. Id. ¶ 7. As of the
  24 date of this Joint Stipulation, Defendants have yet to produce any such documents
     even though the documents were requested over three-and one-half years ago. Id. ¶¶
  25 23, 27.8
              During the August 18 meeting, Plaintiff’s counsel proposed to have her
  26 supplemental production completed by September 18. This proposal anticipated that
     Plaintiff would not have to oppose a motion to compel. Defendants served this
  27 motion to compel on August 23 without advance warning or discussion. Having to
     respond to the motion has set the supplemental production timeline back and
  28 Plaintiff now anticipates completing the supplemental production by September 25.
     Waller Decl., ¶ 9.
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       4856-2227-8005v.2 0113237-000003
Case 2:20-cv-00406-SSS-JC Document 117 Filed 08/31/23 Page 12 of 19 Page ID #:1823


   1            [D]istrict courts have broad discretion to determine relevancy for discovery
   2            purposes. District courts also have broad discretion to limit discovery. For
   3            example, a court may limit the scope of any discovery method if it determines
   4            that ‘the discovery sought is unreasonably cumulative or duplicative, or can
   5            be obtained from some other source that is more convenient, less
   6            burdensome, or less expensive.’ Fed.R.Civ.P. 26(b)(2)(C)(I).
   7 Rowland, 2015 WL 4742502, at *1; Gusman v. Comcast Corp., 298 F.R.D. 592,
   8 595 (S.D. Cal. 2014) (same).9
   9            The ultimate question in this case is whether Servant is “substantially
  10 similar” to Emanuel. Plaintiff will have to show that Defendants copied original
  11 elements from her work. She may show this by proving by a preponderance of the
  12 evidence that Defendants had access to her work and that there are substantial
  13 similarities between Servant and original elements of Emanuel. Three Boys Music v.
  14 Bolton, 212 F.3d 477, 486 (9th Cir. 2000) (“By establishing reasonable access and
  15 substantial similarity, a copyright plaintiff creates a presumption of copying. The
  16 burden shifts to the defendant to rebut that presumption through proof of
  17 independent creation.” (citing Granite Music Corp. v. United Artists Corp., 532
  18 F.2d 718, 721 (9th Cir. 1976))).
  19            Plaintiff has made every effort to cooperate in discovery and will continue to
  20 do so. There is no dispute pending that requires this Court’s intervention.
  21            C.        Defendants’ Requested Resolution
  22            If this motion reaches a hearing, it is because Plaintiff yet again failed to
  23 produce documents by the date she provided. Defendants request that Plaintiff be
  24 ordered to immediately complete her document productions in response to
  25
  26            9
             In addition to obtaining documents from Plaintiff, Defendants have
  27 subpoenaed and obtained documents from third party witnesses including Plaintiff’s
     film’s distributor, Well Go USA Entertainment. Defendants have also pursued
  28 documents and deposition discovery from other witnesses, including Plaintiff’s
     former agent. Waller Decl., ¶ 28.
                                                                      DAVIS WRIGHT TREMAINE LLP
                                            11                                   865 S. FIGUEROA ST, SUITE 2400
                                                                              LOS ANGELES, CALIFORNIA 90017-2566
       JOINT STIPULATION RE: DEFENDANTS’ MOTION TO COMPEL                                  (213) 633-6800
                                                                                         Fax: (213) 633-6899
       4856-2227-8005v.2 0113237-000003
Case 2:20-cv-00406-SSS-JC Document 117 Filed 08/31/23 Page 13 of 19 Page ID #:1824


   1 Defendants’ requests for production. Given Plaintiff’s inordinate delays,
   2 Defendants also request that they be awarded their attorneys’ fees and costs for the
   3 significant time their counsel has spent attempting to persuade Plaintiff to fulfill her
   4 most basic obligation of producing responsive documents.
   5            D.        Plaintiff’s Requested Resolution
   6            Defendants brought this motion without basis and in contravention of the
   7 discovery statutes and local rules. When Defendants served this motion there was
   8 no pending dispute warranting judicial relief. Throughout this case, Defendants
   9 have embarked upon a “scorched earth” litigation strategy causing Plaintiff to incur
  10 unnecessary legal fees at every turn (including serving a prior motion to compel
  11 over a holiday weekend that was taken off calendar after Plaintiff provided her
  12 opposition). All the while, Defendants flout the rules and fail to fulfil their own
  13 discovery obligations. Plaintiff requests that the motion be denied. Given
  14 Defendants’ improper conduct and premature pursuit of this motion, Plaintiff also
  15 requests that she be awarded her attorneys’ fees and costs for the significant time
  16 her counsel has spent attempting to persuade Defendants to act reasonably and
  17 cooperatively, follow the discovery statutes and rules, and to abide by this court’s
  18 discovery mandates.
  19                                      III.   CASE SCHEDULE
  20            In accordance with Local Rule 37-2.1, a copy of the order establishing the
  21 amended case schedule (ECF No. 114) is attached to this joint stipulation.
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                                                                           DAVIS WRIGHT TREMAINE LLP
                                                    12                        865 S. FIGUEROA ST, SUITE 2400
                                                                           LOS ANGELES, CALIFORNIA 90017-2566
       JOINT STIPULATION RE: DEFENDANTS’ MOTION TO COMPEL                               (213) 633-6800
                                                                                      Fax: (213) 633-6899
       4856-2227-8005v.2 0113237-000003
Case 2:20-cv-00406-SSS-JC Document 117 Filed 08/31/23 Page 14 of 19 Page ID #:1825


   1 DATED: August 31, 2023                        DAVIS WRIGHT TREMAINE LLP
                                                   NICOLAS A. JAMPOL
   2                                               CYDNEY SWOFFORD FREEMAN
                                                   MEENAKSHI KRISHNAN
   3                                               SAMANTHA LACHMAN
   4                                               By: /s/ Cydney Swofford Freeman
                                                       Cydney Swofford Freeman
   5
                                                   Attorneys for Defendants
   6
   7    DATED: August 31, 2023                     ERIKSON LAW GROUP
   8
   9                                               By:   ___/s/ Antoinette Waller
                                                         Antoinette Waller
  10
                                                   Attorneys for Plaintiff
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                                                                             DAVIS WRIGHT TREMAINE LLP
                                              13                            865 S. FIGUEROA ST, SUITE 2400
                                                                         LOS ANGELES, CALIFORNIA 90017-2566
       JOINT STIPULATION RE: DEFENDANTS’ MOTION TO COMPEL                             (213) 633-6800
                                                                                    Fax: (213) 633-6899
       4856-2227-8005v.2 0113237-000003
Case 2:20-cv-00406-SSS-JC Document 117 Filed 08/31/23 Page 15 of 19 Page ID #:1826


   1                                      FILER’S ATTESTATION
   2            Pursuant to L.R. 5-4.3.4(a)(2)(i), I attest that all signatories listed and on
   3 whose behalf this filing is submitted concur in the filing’s content and have
   4 authorized this filing.
   5
   6 DATED: August 31, 2023                              DAVIS WRIGHT TREMAINE LLP
                                                         NICOLAS A. JAMPOL
   7                                                     CYDNEY SWOFFORD FREEMAN
                                                         MEENAKSHI KRISHNAN
   8                                                     SAMANTHA LACHMAN
   9                                                     By: /s/ Cydney Swofford Freeman
                                                             Cydney Swofford Freeman
  10
                                                         Attorneys for Defendants
  11
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                                                                                DAVIS WRIGHT TREMAINE LLP
                                                    14                            865 S. FIGUEROA ST, SUITE 2400
                                                                               LOS ANGELES, CALIFORNIA 90017-2566
       JOINT STIPULATION RE: DEFENDANTS’ MOTION TO COMPEL                                   (213) 633-6800
                                                                                          Fax: (213) 633-6899
       4856-2227-8005v.2 0113237-000003
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       2:20-cv-00406-SSS-JC Document
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                                                 06/12/23 Page
                                                           Page16
                                                                1 of 4
                                                                     19 Page
                                                                         PageIDID#:1804
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8                          UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
10
11   FRANCESCA GREGORINI,                       Case No. 2:20-cv-00406-SSS-JCx
12                           Plaintiff,
                                                ORDER GRANTING JOINT
13               v.                             STIPULATION TO CONTINUE
14                                              SCHEDULE OF PRETRIAL AND
                                                TRIAL DATES [Dkt. 100]
15   APPLE INC., a California corporation;
     M. NIGHT SHYAMALAN, an                     NOTE CHANGES MADE BY COURT
16
     individual, BLINDING EDGE
17   PICTURES, INC., a Pennsylvania
     corporation; UNCLE GEORGE
18
     PRODUCTIONS, a Pennsylvania
19   corporate; ESCAPE ARTISTS LLC, a
     California limited liability company;
20
     DOLPHIN BLACK PRODUCTIONS, a
21   California corporation; TONY
     BASGALLOP, an individual; ASHWIN
22
     RAJAN, an individual; JASON
23   BLUMENTHAL, an individual; TODD
     BLACK, an individual; STEVE TISCH,
24
     an individual; and DOES 1-10, inclusive,
25                           Defendants.
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  Case2:20-cv-00406-SSS-JC
       2:20-cv-00406-SSS-JC Document
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                                           Filed08/31/23
                                                 06/12/23 Page
                                                           Page17
                                                                2 of 4
                                                                     19 Page
                                                                         PageIDID#:1805
                                                                                  #:1828



1           On August 26, 2022, the Court issued its Civil Trial Order setting pretrial and
2    trial dates in this action.
3           In light of Plaintiff’s counsel’s ongoing health condition, as well as the
4    discovery remaining for the parties to complete, the parties have agreed to request a
5    continuance of all pretrial and trial deadlines in this action.
6           The Court, having considered the parties’ Stipulation to Continue the Schedule
7    of Pretrial and Trial Dates and finding good cause, hereby GRANTS the Stipulation.
8    The new deadlines are set forth in the Scheduling Order chart filed with this Order.
9           All deadlines established by the prior Civil Trial Order [Dkt. 100] are hereby
10   VACATED.
11
12          IT IS SO ORDERED.
13
14   Dated: June 12, 2023
15                                                 ______________________________
16                                                 SUNSHINE S. SYKES
                                                   United States District Judge
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                                             Filed08/31/23
                                                   06/12/23 Page
                                                             Page18
                                                                  3 of 4
                                                                       19 Page
                                                                           PageIDID#:1806
                                                                                    #:1829



                              DISTRICT JUDGE SUNSHINE SYKES
                       AMENDED SCHEDULE OF PRETRIAL AND TRIAL DATES

                                           Case      Francesca Gregorini v. Apple Inc. et al.
Case No.: 2:20-cv-00406-SSS-JC
                                           Name:
   Trial and Final Pretrial Conference Dates
Note: Trial shall begin on Mondays at 9:00 a.m.                                                      1
                                                           Original Date          Time Computation          Amended Date
Final Pretrial Conference shall be on Fridays at
                    1:00 p.m.
                                                     Monday, 01/08/2024           Monday at 9:00 a.m.    Mon, 06/10/2024
                                                     ☒ Jury Trial                                        ☒ Jury Trial
Trial                                                ☐ Bench Trial                                       ☐ Bench Trial
                                                     Estimated Duration: 3                               Estimated Duration: 3
                                                     Days                                                Days
                                                                                  Friday at 1:00pm at
Final Pretrial Conference (“FPTC”) [L.R. 16]         Fri, 12/15/2023              least 17 days before   Fri, 05/24/2024
                                                                                  trial
                      Event
     Note: All deadlines shall be on Fridays.              Original Date           Time Computation         Amended Date
    Hearings shall be on Fridays at 2:00 p.m.
                                                                                  6 weeks after
Last Date to Hear Motion to Amend Pleadings or
                                                     CLOSED                       Scheduling             CLOSED
Add Parties
                                                                                  Conference
Fact Discovery Cut-Off                                                            27 weeks before
                                                                                                         Fri, 11/17/2023
(no later than deadline for filing dispositive       Fri, 07/14/2023              FPTC
motions)
                                                                                  26 weeks before
Expert Disclosure (Initial)                          Fri, 06/16/2023                                     Fri, 10/20/2023
                                                                                  FPTC
                                                                                  24 weeks before
Expert Disclosure (Rebuttal)                         Fri, 06/30/2023                                     Fri, 11/03/2023
                                                                                  FPTC
                                                                                  22 weeks before
Expert Discovery Cut-Off                             Fri, 07/14/2023                                     Fri, 11/17/2023
                                                                                  FPTC
Last Date to Hear Motions                                                         11 weeks before
 Rule 56 Motions are due at least 7 weeks before                                 FPTC
  hearing; Rule 56 Opposition due at least 5 weeks
  before hearing; Rule 56 Reply due at least 4       Fri, 09/29/2023                                     Fri, 2/2/2024
  weeks before hearing.
 Briefing deadlines for all other motions are
  pursuant to L.R. 6-1, 7-9, 7-10.
                                                                                  8 weeks before
                                                     Fri, 10/20/2023                                     Fri, 2/23/2024
                                                                                  FPTC
Deadline to Complete Settlement Conference [L.R.     ☐ 1. Magistrate Judge                               ☐ 1. Magistrate Judge
16-15]                                               ☐ 2. Court Mediation                                ☐ 2. Court Mediation
                                                     Panel                                               Panel
                                                     ☒ 3. Private Mediation                              ☒ 3. Private Mediation



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          Any date the parties propose, absent good cause, should be consistent with the
         Court’s preferred timeline.
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    Case2:20-cv-00406-SSS-JC
         2:20-cv-00406-SSS-JC Document
                               Document117
                                        114 Filed
                                             Filed08/31/23
                                                   06/12/23 Page
                                                             Page19
                                                                  4 of 4
                                                                       19 Page
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                                                                       6 weeks before
Deadline to File Motions in Limine                   Fri, 11/03/2023                        Fri, 4/12/2024
                                                                       FPTC
                                                                       4 weeks before
Deadline for Oppositions to Motions in Limine        Fri, 11/17/2023                        Fri, 4/26/2024
                                                                       FPTC
Trial Filings (first round)                                            4 weeks before
 Memoranda of Contentions of Fact and Law [L.R.                       FPTC
  16-4]
 Witness Lists [L.R. 16-5]
 Joint Exhibit List [L.R. 16-6.1]                   Fri, 11/17/2023                        Fri, 4/26/2024
 Joint Status Report Regarding Settlement
 Proposed Findings of Fact and Conclusions of
  Law [L.R. 52] (bench trial only)
 Declarations containing Direct Testimony, if
  ordered (bench trial only)
Trial Filings (second round)                                           2 weeks before
 Joint Proposed Final Pretrial Conference Order                       FPTC
  [L.R. 16-7]
 Joint Agreed Upon Proposed Jury Instructions
  (jury trial only)
 Disputed Proposed Jury Instructions (jury trial
  only)                                              Fri, 12/01/2023                        Fri, 5/10/2024
 Joint Proposed Verdict Forms (jury trial only)
 Joint Proposed Statement of the Case (jury trial
  only)
 Proposed Voir Dire Questions, if any (jury trial
  only)
 Evidentiary Objections to Declarations of Direct
  Testimony (bench trial only)
Hearing on Motions in Limine                         Fri, 12/01/2023   1 week before FPTC   Fri, 5/17/24
